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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              WESTERN DIVISION


JEREMY WASHINGTON,

                     Plaintiff,                        Civil Case No. 20-cv-50390

      v.                                               Magistrate Judge Margaret J. Schneider

MICHAEL CONLEY, ET AL.,

                     Defendants.



                                  JOINT STATUS REPORT

       The parties, by and through their attorneys, and pursuant to the Court’s February 23, 2022

Order (Dkt. No. 65), hereby submit the following Joint Status Report:

       1.      Status of Discovery:

      As set forth in the parties’ previous Joint Status Reports, the parties have exchanged

written discovery requests. Most recently, Plaintiff has responded to Defendant Marinelli’s first

set of Interrogatories, which Defendant Marinelli served on February 23, 2022.


      Plaintiff believes that some discovery items responsive to his discovery requests remain

outstanding. The parties will continue to meet and confer to resolve any remaining discovery

disputes.


      Further, counsel for Plaintiff contacted counsel for Defendants on April 12, 2022

requesting a phone call to discuss outstanding discovery matters. Counsel for Defendants

informed counsel for Plaintiff on April 13, 2022 that she would be leaving Illinois Attorney

General’s Office’s Prison Litigation Unit at the end of that week (by April 15, 2022).



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Defendants’ counsel represented that a new defense attorney would file an appearance by the

end of the following week, April 22, 2022. Plaintiff’s counsel intends to discuss any ongoing

discovery issues with the new defense attorney, but cannot do so until that attorney files an

appearance or otherwise identifies himself to Plaintiff’s counsel.

       2.      Status of Settlement Discussions:

      Plaintiff remains open to settlement discussions, and is willing to discuss settlement with

Defendants’ new counsel once identified. Plaintiff has not issued a settlement demand, as the

parties are still meeting and conferring regarding Defendants’ discovery responses, and Plaintiff

and his counsel must obtain adequate discovery before an appropriate settlement demand can be

evaluated. Defendants are unable to determine whether settlement may be feasible in this matter

until they receive Plaintiff’s settlement demand.

       3.      All pending or anticipated motions:

      Plaintiff intends to file an amended complaint in this matter.

      Plaintiff intends to propose to defense counsel a revised discovery schedule that accounts

for, among other things, substitution of the defense counsel. First, outstanding discovery

disputes remain, and Plaintiff’s counsel is waiting for Defendants’ new counsel to appear so that

the parties may discuss those issues. Second, Plaintiff’s counsel, who is representing Plaintiff

pro bono, has a busier than expected schedule, including an expedited litigation and upcoming

trial out of state. The parties believe they can reach an agreed amended schedule that accounts

for these circumstances, while ensuring that this case moves along expeditiously.




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Dated: April 25, 2022                       Respectfully submitted,

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